GEORGE H. DEUBLE, PETITIONER v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Deuble v. CommissionerDocket Nos. 92055, 95044.United States Board of Tax Appeals42 B.T.A. 277; 1940 BTA LEXIS 1021; June 28, 1940, Promulgated *1021  1.  Held, the income of certain trusts for the benefit of the wife and children of grantor was taxable to grantor under the principles laid down in Helvering v. Clifford,309 U.S. 331. 2.  Held, that the income of certain irrevocable "income trusts" was not taxable to grantor.  3.  Held, amounts paid by certain trusts to satisfy premiums on policies of insurance on the grantor petitioner's life are taxable to petitioner under section 167(a)(3) of the Revenue Acts of 1934 and 1936.  Albert B. Arbaugh, Esq., Homer E. Black, Esq., Paul E. Shorb, Esq., and Marion P. Wormhoudt, Esq., for the petitioner.  Thomas F. Callahan, Esq., and W. W. Kerr, Esq., for the respondent.  VAN FOSSAN *277  In these proceedings redetermination is asked of deficiencies in petitioner's income tax in the following amounts: 1934$66,735.78193565,278.93193673,977.04By amended answer, respondent asserted an additional deficiency against petitioner for the year 1934 in the amount of $25,665.84.  The only question before the Board is whether the income from certain trusts created by petitioner is taxable*1022  to petitioner.  FINDINGS OF FACT.  The facts were stipulated substantially as follows: Petitioner is a resident of Canton, Ohio.  During the years 1934, *278  1935, and 1936 petitioner was a man of considerable estate and substantial income, and provided and maintained a home for his wife and family throughout the years in controversy.  On August 2, 1926, petitioner created a trust, hereinafter known as the Helen C. Deuble trust, naming the Geo. D. Harter Bank of Canton, Ohio, trustee and his wife, Helen C. Deuble, beneficiary.  The trust instrument provided that the corpus of the trust should consist of 200 shares of the common stock of the Climalene Co.  The trust was irrevocable during the remainder of the calendar year 1926 and during each subsequent year unless petitioner notified the trustee in writing of an intended revocation, alteration, or modification.  Such modification might take effect on January 1, following the notice.  By the terms of the trust, the Climalene Co. stock was to be retained as corpus as long as advisable.  The petitioner reserved to himself the right or proxy to vote the shares of the Climalene Co.  During the life of petitioner, the entire*1023  net income of the trust was to be accumulated and invested as part of the trust estate and, at the death of petitioner, was to become part of the trust estate.  During the life of petitioner the trustee was permitted to pay Helen C. Deuble such sums from the net income as might be requested by her in writing and approved in writing by the grantor.  After the death of petitioner, the entire net income was to be paid to Helen C. Deuble throughout the term of her life.  At the death of the beneficiary, or at the death of petitioner if the beneficiary did not survive him, the whole amount of the trust estate was to be divided among the children per stirpes.The petitioner is actively interested in the affairs of the Climalene Co., the shares of which made up the corpus of the Helen C. Deuble trust.  The petitioner further reserved the right to instruct the trustee in regard to changes in, and investment and reinvestment of, the principal fund of the trust.  The trustee was given the power "in its sole and exclusive discretion, to pay to the beneficiary, or use for her benefit, such portions of the principal of the trust estate as may to the trustee at any time seem actually*1024  necessary for the proper support, maintenance and comfort of the beneficiary." The trustee was also given the power to determine whether money or property coming into its possession should be treated as principal or income and to apportion expenses and losses to principal and income as the trustee might deem equitable.  On August 2, 1926, petitioner created three trusts, with the Geo. D. Harter Bank of Canton, Ohio, as trustee, for the benefit of his children, as follows: Trust No. 516 for the benefit of Helen E. Deuble, born May 5, 1918; trust No. 517 for the benefit of George H.  *279  Deuble, Jr., born February 22, 1926; trust No. 518 for the benefit of Walter C. Deuble, born March 11, 1921; and on December 19, 1928, he created trust No. 846 for the benefit of David A. Deuble, born December 13, 1928, with the Geo D. Harter Bank of Canton, Ohio, as trustee.  All of these trusts were substantially identical in their terms and contents, with the exception of the name of the beneficiary.  The corpora of these trusts consisted of shares of stock of the Climalene Co.  The net income of the trusts was to be accumulated until the children attained the age of 21 years, except*1025  that, if so directed by the petitioner during his lifetime, or by his wife, Helen C. Deuble, or by any guardian of the persons of the beneficiaries after the death of the petitioner and during the minority of the beneficiaries, the trustee should pay out of the trust income such sums as might be required by the petitioner, his wife, or such guardian for the living expenses, maintenance, and education of the beneficiaries.  Upon a beneficiary attaining the age of 21 years, the trustee was to pay such beneficiary the entire net income of the trust estate.  The trust instruments further provided for distribution of the corpus to the beneficiaries, dependent upon their attaining specified ages.  If a beneficiary should die before receiving the whole trust estate, the trustee was directed to hold the property in trust for the benefit of the issue of the beneficiary, if any survive him, or if he leave no issue surviving him, then for the benefit of the brothers or sisters of the beneficiary, in equal shares, per stirpes.If a beneficiary should die without issue and leave no surviving brothers or sister or their issue, before receiving the whole trust estate, the trust estate should*1026  be paid over absolutely to Helen C. Deuble if then living, or if Helen C. Deuble were not living, the residue of the trust estate would be distributed as provided in the will of petitioner or to his heirs at law in default of such provision.  The petitioner reserved to himself substantially the same rights as were reserved under the Helen C. Deuble trust.  The children's trusts were to be irrevocable for the same period and could be revoked, altered, or modified only in the same manner as the Helen C. Deuble trust.  The trustee was given the power "to determine whether money or property coming into its possession shall be treated as principal or income and to charge or apportion expenses or losses to principal or income as to the trustee may appear just and equitable." On December 30, 1929, the Helen C. Deuble trust was amended.  The amendment made the trust irrevocable from January 1, 1930, until the purposes expressed in the declarations of trust were accomplished, with the provision that if the petitioner were living on *280  January 1, 1933, the trust should terminate and all the principal of the trust estate then in the hands of the trustee should be delivered to*1027  and become the property of petitioner.  The amendment further provided that the trustee was authorized to pay to Helen C. Deuble, upon her request, any accumulated income of the trust even though invested.  Upon the termination of the trust the accumulated income was to be paid over to Helen C. Deuble.  If the accumulated income should be invested, such investments or the proceeds from the sale of the investments, at her option, were to be paid over to her.  On December 30, 1929, trusts Nos. 516, 517, 518, and 846, for the benefit of petitioner's four children, were each amended.  The amendments were identical in their terms and contents, with the exception of the name of the beneficiary and the designation of the income trust therein referred to.  These amendments provided that the entire income of trusts Nos. 516, 517, 518, and 846 should be paid over to the trusts known as the "income trusts." On May 20, 1932, petitioner further continued and extended the Helen C. Deuble trust.  This amendment provided that the Helen C. Deuble trust should be irrevocable until January 1, 1936, and if petitioner were living at that time the trust would then terminate.  Petitioner reserved the*1028  right at any time to remove the trustee and appoint a successor trustee.  The Geo. D. Harter Bank assented to the amendment.  On the same date petitioner further continued and extended trusts Nos. 516, 517, 518, and 846 for the benefit of his children.  These continuations and extensions were identical in their terms and contents, with the exception of the name of the beneficiary and the designation of the income trust therein referred to.  The extensions provided that trusts Nos. 516, 517, 518, and 846 should be irrevocable until January 1, 1936, at which time, if petitioner were living, the trusts would terminate.  The amendments to the children's trusts provided that petitioner might remove the then trustee and appoint a successor trustee.  The Geo. D. Harter Bank assented to these amendments.  On December 30, 1935, petitioner further continued and extended the Helen C. Deuble trust.  This extension provided that the trust should be irrevocable until January 1, 1939, at which time, if petitioner were living, the trust would terminate.  On December 30, 1935, petitioner further continued and extended trusts Nos. 516, 517, 518, and 846 for the benefit of his children.  These*1029  continuations and extensions were identical in their terms and contents, with the exception of the name of the beneficiary and the designation of the income trust therein referred to.  These extensions provided that trusts Nos. 516, 517, 518, and 846 should be irrevocable until January 1, 1939, at which time, if petitioner were living, the trusts would terminate.  *281  On December 30, 1929, petitioner created four "income trusts", with the Geo. D. Harter Bank of Canton, Ohio, as trustee, one for the benefit of each of his children, as follows: Income trust No. 1016, for the benefit of Helen E. Double Income trust No. 1017, for the benefit of George H. Double, Jr. Income trust No. 1018, for the benefit of Walter C. Deuble Income trust No. 1019, for the benefit of David A. Deuble The income trusts were identical in their terms and contents, with the exception of the name of the beneficiary.  By the terms of the income trusts, the trustee was required to pay over from principal and income to Helen C. Deuble, or any guardian of the person of the respective beneficiaries, during the beneficiary's minority, such reasonable amounts as might be indicated by Helen C. Deuble, *1030  or any such guardian, for the support, maintenance, and education of such beneficiary.  Upon a beneficiary attaining the age of 21 years the trustee was required to pay to the beneficiary such part of the net income of the trust as the beneficiary might direct.  The principal and income remaining after such withdrawals were to accumulate and be invested until the beneficiary attained the age of 25 years, at which age the principal should be distributed.  No right to amend or revoke these trusts was reserved by petitioner.  The trustee was given broad powers of administration over the trusts.  On May 12, 1932, petitioner executed a purported amendment to each of the income trusts in which he reserved the right to designate a successor trustee.  Each purported amendment was assented to by the Geo. D. Harter Bank, as trustee.  The beneficiaries did not assent.  Prior to December 31, 1929, securities and other investments had been purchased from accumulated income in the Helen C. Deuble trust.  Helen C. Deuble did not withdraw, under and by virtue of the trust and its extensions, all of the securities and assets representing accumulated income then in the hands of the trustee until*1031  December 19, 1935.  The assets of the Helen C. Deuble trust as of January 1, 1934, were as follows: 400 shares Climalene Co$100,000.00Other stocks59,324.44Bonds119,558.75Land trust certificates14,115.00Miscellaneous24,095.97317,094.16Less cash owed405.61316,688.55*282  Of the children's trusts, the Helen E. Deuble, George H. Deuble, Jr., and Walter C. Deuble trusts each contained the following assets as of January 1, 1934: 200 shares Climalene Co. common$50,000.00290 shares Climalene Co. preferred29,000.00Other stocks3,333.28Bonds48,837.25Land trust certificates4,040.00Miscellaneous7,348.92Cash18.37Total142,577.82The David A. Deuble trust had the following assets of January 1, 1934: 200 shares Climalene Co$5,000.00Other stocks5,033.28Bonds39,220.75Miscellaneous3,050.00Cash1,250.78Total98,554.81The amounts of income produced in the years 1934, 1935, and 1936 by the assets originally transferred to the various trusts created by the grantor for the benefit of his wife and four children and the amounts of income produced during the same years*1032  by accumulations upon those assets are as follows: 1934TrustIncome fromIncome fromClimaleneassetsstock purchased fromaccumulatedincomeNo. 515 - Helen C. Deuble$40,000.00$9,460.59No. 516 - Helen E. Deuble21,740.002,772.33No. 517 - Geo. H. Deuble, Jr21,740.002,772.33No. 518 - Walter C. Deuble21,740.002,772.33No. 846 - David A. Deuble20,000.002,495.82Total125,220.0020,273.401935No. 515 - Helen C. Deuble$40,000.00$9,927.69No. 516 - Nelen E. Deuble21,740.002,766.30No. 517 - Geo. H. Deuble Jr21,740.002,767.18No. 518 - Walter C. Deuble21,740.002,767.18No. 846 - David A. Deuble20,000.002,199.87Total125,220.0020,428.221936No. 515 - Helen C. Deuble$40,510.000No. 516 - Helen E. Deuble21,200.000No. 517 - Geo. H. Deuble, Jr21,200.000No. 518 - Walter C. Deuble21,200.000No. 846 - David A. Deuble21,200.000Total125,310.00*283  On December 24, 1935, the following securities and property, representing accumulated income, were transferred and delivered from each of the Helen E. Deuble, George H. Deuble, Jr., and Walter C. Deuble*1033  children's trusts to the corresponding income trusts: 50 shares Central Pub. Utility Corp.60 shares Chesapeake &amp; Ohio Rwy. Co. com.50 shares Republic Stpg. &amp; Enam. Co. com.5,000 Aluminum Ltd. 5% 19483,000 Atchison, Topeka &amp; S. Fe Rwy. Co. 4 1/2%5,000 Brush Moore News Inc. 5% 19455,000 Cincinnati St. Rwy. Co. 5 1/2% 19525,000 Cleveland, Cinc. Chg. &amp; St. L. Rd. Co. 4 1/2%3,000 Gatineau Power Co. 5% 19565,000 St. Louis San Francisco Rwy. Co. 4 1/2%5,000 Texas Pr. &amp; Ltd. Co. 5% 19561,000 U.S. Treas. 3% 19555,000 Columbus Rwy. Pr. &amp; Lt. Co. 4 1/2%, 19574 Inst. Chapel State Theatre Bldg. Site, Ld. tr. cert.Peoples Coml. &amp; Sav. Bk. sav. ac$4,423.63Cash - Helen E. Deuble trust17,043.77Cash - George H. Deuble Jr. trust17,034.28Cash - Walter C. Deuble trust17,047.63The following securities and property were transferred and delivered from the David A. Deuble trust to the corresponding income trust on December 24, 1935: 53 10/80 shares Central Pub. Utility Corp. com.60 shares Chesapeake &amp; Ohio Rwy. Co. com.50 shares Harmonia Fire Ins. Co. cap.50 shares Republic Stpg. &amp; Enam. Co. com.3,000 Aluminum Ltd. 5% 19485,000 Associated*1034  Gas &amp; Elec. Corp. 4% 197810,000 Brush Moore News Inc. 5% 19451,000 Columbus Rwy. Pr. &amp; Lt. Co. 4 1/2% 19574,000 St. Louis San Francisco Rwy. Co. 4 1/2% 19785,000 Atchison Topeka &amp; S Fe Rwy. Co. 4 1/2% 1948Cash, $5,242.13 After the property and securities representing accumulated income had been transferred and delivered from the children's trusts to the respective income trusts as enumerated in the above schedules, there remained in the children's trusts only the securities and other property constituting the original corpus of the trusts.  *284  During the calendar years 1934, 1935, and 1936 all of the income, both taxable and nontaxable, of the Helen C. Deuble trust was paid over and distributed by the trustee to the beneficiary, and Helen C. Deuble returned upon her personal income tax returns for the calendar years 1934, 1935, and 1936 all such income arising during those calendar years from the Helen C. Deuble trust and paid income taxes thereon.  During the calendar years 1934, 1935, and 1936 all of the income, both taxable and nontaxable from each of the trusts Nos. 516, 517, 518, and 846, created by petitioner for the benefit of his four children, was*1035  paid over and distributed to the Geo. D. Harter Bank of Canton, Ohio, as trustee of the corresponding income trust created by petitioner for the benefit of the respective child.  The Geo. D. Harter Bank, as trustee of each income trust, returned and paid income taxes upon all of the income arising during the calendar years 1934, 1935, and 1936, both in the main or principal trust and in the corresponding income trust, with the exception of the amount of $204.63 for each of the years 1934, 1935, and 1936 in each of the individual income trusts.  Credits for the amount of $204.63 were taken upon the tax return of each income trust for the years 1934, 1935, and 1936 as having been distributed to the minor beneficiary.  No returns were made in the names of or on behalf of the minor beneficiaries for the amounts of $204.63 because the minors had no other taxable income.  In the case of each minor beneficiary of the four income trusts, Nos. 1016, 1017, 1018, and 1019, the sum of $204.63 for which credit was claimed upon the trustee's income tax return for each of the years 1934, 1935, and 1936, was in fact paid by the trustee to the Travelers Insurance Co. of Hartford, Connecticut, at*1036  the written direction of Helen C. Deuble, petitioner's wife and mother of the minor beneficiaries, to pay and satisfy the yearly premiums upon four policies of insurance, each in the face amount of $12,500, upon the life of petitioner.  These payments of insurance premiums were entered upon the trustee's books of account as distributions of those amounts to the respective minor beneficiaries of the income trusts.  All policies of insurance on which premiums were paid during the calendar years 1934, 1935, and 1936 from the four income trusts were in the principal amount of $12,500 and were issued on November 24, 1932, upon the application of petitioner, by whom the first annual premium of $204.63 on each policy was paid.  Each policy was originally made payable to petitioner's executors, administrators, or assigns, but on September 29, 1933, petitioner executed and delivered to the Travelers Insurance Co. a trust agreement irrevocably assigning the policies to the respective beneficiaries.  *285  The only disbursements from the income trusts during the calendar years 1934, 1935, and 1936, other than the payment of the insurance premium referred to above, were as follows: *1037 193419351936Helen E. Deuble income trust No. 1016:The Geo. D. Harter Bank, trustee's fees$262.61$314.61$446.41Collector of internal revenue, income tax payable by the Geo. D. Harter Bank, trustee of income trust No. 1016, for preceding year1,255.451,938.142,639.34George H. Deuble, Jr., income trust No. 1017:The Geo. D. Harter Bank, trustee's fees262.61308.94445.85Collector of internal revenue, income tax payable by the Geo D. Harter Bank, trustee of income trust No. 1017, for preceding year1,255.451,938.142,637.34Walter C. Deuble income trust No. 1018:The Geo. D. Harter Bank, trustee's fees262.61314.35446.37Collector of internal revenue, income tax payable by the Geo. D. Harter Bank, trustee of income trust No. 1018, for preceding year1,255.451,938.142,639.14David A. Deuble income trust No. 1019:The Geo. D. Harter Bank, trustee's fees195.55237.62343.09Collector of Internal revenue, income tax payable by the Geo. D. Harter Bank, trustee of income trust No. 1019, for preceding year920.591,263.602,293.39On November 24, 1932, on application of the petitioner, *1038  a policy of insurance upon petitioner's life, in the principal sum of $50,000 was issued by the Travelers Insurance Co., the annual premium thereon being $818.50, the first annual premium being paid by the petitioner.  Petitioner's wife, Helen C. Deuble, was named as a beneficiary in this policy.  On January 21, 1933, Helen C. Deuble, as assignee of the policy, executed and delivered to the Travelers Insurance Co. a trust agreement irrevocably assigning the policy to Helen C. Deuble.  During the calendar years 1934 and 1935 the Geo. D. Harter Bank, as trustee of the Helen C. Deuble trust, paid the annual premium of $818.50 for the years 1934 and 1935 upon the policy from the income of the Helen C. Deuble trust, at the express direction of petitioner's wife, Helen C. Deuble.  These payments were entered upon trustee's books of account as distributions of income in those amounts to the beneficiary, Helen C. Deuble.  On December 28, 1938, petitioner further continued and extended the Helen C. Deuble trust.  As to 100 shares of the common stock of the Climalene Co., the trust was allowed to expire as of January 1, 1939.  The remainder of the trust was extended and made irrevocable until*1039  January 1, 1941.  The amendment provided that additions to the trust corpus acquired or made after December 28, 1938, should not be transferred to petitioner upon the expiration date of the trust but should be held and disposed of by the trustee under and by virtue of the terms of the trust.  Petitioner disclaimed any interest in, or any power over, property added to the trust estate after December 28, 1938.  On December 28, 1938, petitioner further continued and extended the children's trusts.  As to 50 shares of the common stock of the Climalene Co., each trust was allowed to expire as of January 1, 1939.  *286 The trusts were otherwise extended and made irrevocable until January 1, 1941.  These extensions of the children's trusts provided for disposition of additions to the trusts in the same manner as the amendment to the Helen C. Deuble trust dated December 28, 1938.  The securities and property transferred to the various trusts created by the grantor and the securities and property subsequently acquired by all such trusts were at all times carried in the name of the trustee of the respective trusts.  The established policy of the Geo. D. Harter Bank, acting as*1040  trustee, was to diversify trust investments unless instructed to the contrary.  OPINION.  VAN FOSSAN: The issue is the taxability of the income of certain trusts established by petitioner for the benefit of his wife and children.  Petitioner asserts that the trusts in question were valid and irrevocable during the taxable years and that no part of the income from those trusts was taxable to petitioner.  Respondent argues that all of the trusts amounted to no more than temporary assignments of income and were without substance.  Respondent further contends that the income of the Helen C. Deuble and the children's trusts should be taxed to petitioner on grounds that the trust property would revert to petitioner within a short time and that all the trusts were created and the income therefrom used to discharge a legal obligation of the petitioner.  For purposes of clarity we shall discuss the various trusts separately.  Helen C. Deuble Trust.Though relying in part on sections 166 and 167 of the Revenue Acts of 1934 and 1936, the respondent lays greatest stress on the applicability of the decision of the Supreme Court in *1041 , which held the income there in question taxable to the grantor under section 22(a).  The Helen C. Deuble trust was similar to the one considered in , in that the wife was the beneficiary and the trust was for a short term.  Here petitioner was not the trustee, as was the grantor in the Clifford case, but upon exercise of his reserved right to remove the then trustee and appoint successor trustees might have appointed himself trustee.  We are of the opinion that in our consideration we must assume the exercise of this power with all its consequences.  Other features of the instant trust which *287  are found in the trust considered in the Clifford case are the retention by petitioner of the right to vote stock and the reserved right to instruct the trustee in regard to investment and reinvestment of the trust property. Certain indicia of control by the grantor appeared in the Clifford case which do not appear so clearly in the trust presently before us.  There petitioner could lend cash or securities of the trust without security; he was not restricted because*1042  of the speculative character of proposed investments; he might hold property in his own name as an individual or in the name of any other person; he was not liable for loss of any kind other than that caused by his own willful and deliberate violation of duties as trustee; and, finally, in his absolute discretion he might distribute the income to the beneficiaries at any time during the period of the trust.  The decision reached by the Supreme Court in , was not based solely on any one of the factors present in the trust before it.  Rather, it was based on the aggregate of all factors of control.  In that case the Court said that whether or not the settlor may be treated as the owner of the corpus "must depend on an analysis of the terms of the trust and all circumstances attendant on its creation and operation." Applying this formula to the facts present in the Helen C. Deuble trust, we are of the opinion that the requisite vital elements of control by the petitioner are here present and that it falls within the rule of the Clifford case.  The consequence is that the trust income is taxable to petitioner.  It therefore becomes*1043  unnecessary to discuss the applicability of sections 166 and 167. The Children's Trusts.The principal provisions of these trusts in effect during the taxable years are substantially similar to those in the Helen C. Deuble trust and the conclusion announced above likewise follows as to them.  There is no controlling differentiation.  We, therefore, hold that the income of the children's trusts is taxable to petitioner.  The Income trusts.The income trusts are irrevocable and are not to be classified as short term trusts.  Petitioner has retained very few incidents of ownership in the trust property.  The corpora of the trusts do not revest in petitioner within a few years but, on the other hand, will be distributed to the beneficiaries upon their attaining specified ages.  The trustee was given broad powers of administration over the income trusts.  The chief similarity which these trusts bear to the trust *288  considered in the Clifford case is that the beneficiary of each of the income trusts is a member of the family group.  Originally these trusts contained no provision for changing the trustee.  On May 12, 1932, petitioner executed a purported amendment*1044  to each of the trusts, reserving the right to change the trustee.  The trustee assented to these amendments, but the beneficiaries did not so assent.  The trusts being irrevocable, the attempted change in the terms of the trusts was legally ineffective without the consent of the beneficiaries.  It follows that the power to change the trustee is not present as in the other trusts hereinbefore considered.  In these trusts petitioner had no power to lend without security, speculate or hold property in his own individual name.  The corpus of the trusts arose from the receipt and investment of the income of the children's trusts.  We are of the opinion, and hold, that petitioner was not in substance the owner of the corpora of the income trusts and that their income is not taxable to grantor under section 22(a).  By the terms of the income trusts, Helen C. Deuble, or any guardian of the person of the respective beneficiaries, during the minority of the beneficiaries, could require the trustee to pay over reasonable amounts for the support, maintenance, and education of the beneficiaries.  Respondent contends that the entire income of these trusts is taxable to petitioner under section*1045  167(a)(2) of the Revenue Acts of 1934 and 1936, under the principles laid down in . We have held, however, that the grantor in such situations is taxable only on amounts actually used for maintenance, support, and education. ; ; ; . The proof is that none of the income was so used in the present cases.  Here the sum of $204.63 was paid to the insurance company to satisfy a premium on a policy of insurance on the life of petitioner by the trustee from each of the income trusts during each of the years 1934, 1935, and 1936.  These sums are taxable to petitioner under section 167(a)(3) of the Revenue Acts of 1934 and 1936.  Reviewed by the Board.  Decisions will be entered under Rule 50.